Case 2:05-cV-02443-.]DB-tmp Document 3 Filed 07/22/05 Page 1 of 2 Page|D 1

 

IN THE UNITED sTATEs nlsTRlCT CoURT F"~ED BY D»C»
FoR THF. WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 95 JUL 22 PH 2= 37
U“UMAS H. GOULD

G.EFE(, U.S D~YSTR$C UM

DIANE D. PLUNK, _
W,® ’JI~ m L-YE:WH§S

Plainliff,
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No. 05-2443 -B P

SHELBY COUNTY GOVERN MENT

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Defend anl.

 

ORDER GRANTING T]ME TO ANSWER OR OTHERWISE RESPOND

 

For the reasons set forth in Defendant’s Motl`on for Extension of Time to Answer or
Otherwise Respond, and for good cause shown, the time for Defendant to answer or otherwise

respond to the Complaint is hereby extended to and including August 17, 2005.

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United States Bis%riet-J-\Id;g_e
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Date: mls-d ,’L'L, 'MOY

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
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July 25, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

